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                                                                   1 SMILEY WANG-EKVALL, LLP
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                                                                     Telephone: 714 445-1000
                                                                   5 Facsimile:   714 445-1002

                                                                   6 Attorneys for Heide Kurtz, Plan Trustee

                                                                   7

                                                                   8                          UNITED STATES BANKRUPTCY COURT
                                                                   9                            CENTRAL DISTRICT OF CALIFORNIA
                                                                  10                                  LOS ANGELES DIVISION
                                                                  11 In re                                          Case No. 2:12-bk-50767-BR
SMILEY WANG‐EKVALL, LLP

                          Tel 714 445‐1000 • Fax 714 445‐1002




                                                                  12 THE WOMAN'S CLUB OF HOLLYWOOD,                 Chapter 11
                             3200 Park Center Drive, Suite 250
                               Costa Mesa, California 92626




                                                                     CALIFORNIA,
                                                                  13
                                                                                                                    MOTION FOR ORDER AUTHORIZING A
                                                                  14                                                CHANGE IN THE COMPOSITION OF
                                                                                                                    THE BOARD OF DIRECTORS;
                                                                  15                                                DECLARATIONS IN SUPPORT
                                                                  16                                                [No Hearing Required Pursuant to
                                                                                                                    Local Bankruptcy Rule 9013 1(o)]
                                                                  17
                                                                                                    Debtor.
                                                                  18

                                                                  19

                                                                  20 TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE:

                                                                  21           Heide Kurtz, the Plan Trustee in the case of The Woman's Club of Hollywood,
                                                                  22 California ("Trustee"), submits this Motion for Order Authorizing A Change in the

                                                                  23 Composition of the Board of Directors ("Motion"). In support of the Motion, the Trustee

                                                                  24 submits the following memorandum of points and authorities and the attached

                                                                  25 Declarations of Tracy Reiner, Velma Montoya, Suz Landay, Ninon Zenovich Aprea, and

                                                                  26 Lei Lei Wang Ekvall.

                                                                  27

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                                                                   1 I.        INTRODUCTION
                                                                   2           This Motion seeks this Court's approval of the proposed appointment of four

                                                                   3 individuals to the post-confirmation board of directors of The Woman's Club of Hollywood,

                                                                   4 California, the Reorganized Debtor ("Club"). Three board members who were installed

                                                                   5 pursuant to the court-approved plan of reorganization have resigned, and the Trustee

                                                                   6 believes it is advisable to designate replacement board members in order to properly

                                                                   7 govern the Club. The order approving the plan requires that any action to remove or

                                                                   8 appoint additional members of the board of directors be approved by the Court, and this

                                                                   9 Motion seeks that approval.

                                                                  10

                                                                  11 II.       FACTS
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                                                                  12           A.    General Background
                             3200 Park Center Drive, Suite 250
                               Costa Mesa, California 92626




                                                                  13           On December 13, 2012, the Club filed a voluntary petition under chapter 11 of the

                                                                  14 Bankruptcy Code. On January 16, 2013, the Court entered an order directing the

                                                                  15 appointment of a chapter 11 trustee, and the Trustee was appointed by order entered on

                                                                  16 January 17, 2013. Since her appointment, the Trustee has taken control of the Club's

                                                                  17 operations.

                                                                  18           The Club is a non-profit organization founded in or about 1905 as a woman's club

                                                                  19 with the stated mission of serving the community through the advancement and

                                                                  20 promotion of social, cultural and philanthropic endeavors and to be a cultural center for

                                                                  21 the arts. Throughout its history, the Club and its members have worked to support

                                                                  22 education for women, the arts, and the community. In recent years, however, the

                                                                  23 membership of the Club has dwindled. Since at least 2010, disputes and litigation

                                                                  24 concerning control and management of the Debtor and the legitimacy of the Club's board,

                                                                  25 officers, and bylaws have plagued the Club.

                                                                  26           B.    Confirmation of the Plan
                                                                  27           On August 5, 2014, the Court entered an order approving the Trustee's

                                                                  28 Chapter 11 Plan of Reorganization (Dated April 8, 2014) [Docket No. 442] ("Plan"). The


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                                                                   1 Order Confirming Chapter 11 Trustee's Chapter 11 Plan of Reorganization (Dated April 8,

                                                                   2 2014) [As Amended by Docket No. 442 Filed on July 2, 2014] as Modified by This Court

                                                                   3 Order [Docket No. 463] ("Confirmation Order") provides that the effective date of the Plan

                                                                   4 is 15 days after entry of the Confirmation Order. A copy of the Confirmation Order is

                                                                   5 attached as Exhibit "1." Accordingly, the effective date of the Plan was August 20, 2014

                                                                   6 ("Effective Date"). The Confirmation Order appoints the Trustee as the plan trustee as of

                                                                   7 the Effective Date.

                                                                   8           C.    The Board of Directors
                                                                   9           On the Effective Date, a new board of directors was installed pursuant to the terms

                                                                  10 of the Plan. The members of the new board were (1) Claudia Deutsch, (2) Andrea Quinn,

                                                                  11 (3) Kandace Krapu, (4) Christine Zardeneta, and (5) John Crosby ("Post-Confirmation
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                                                                  12 Board"). Since the appointment of the Post-Confirmation Board, however, Andrea Quinn,
                             3200 Park Center Drive, Suite 250
                               Costa Mesa, California 92626




                                                                  13 Kandace Krapu, and John Crosby have resigned. The Trustee and the Club would like to

                                                                  14 reconstitute the Board by replacing the three former board members with four new

                                                                  15 members, thereby increasing the number of board members from five to six. The Club's

                                                                  16 bylaws provide that "the Club shall have a Board of Directors that shall be composed of

                                                                  17 at least five (5) members and no more than fifteen (15) members. . . ." Accordingly, the

                                                                  18 bylaws already contemplate an expansion of the number of board members and the

                                                                  19 bylaws need not be modified. A copy of the relevant portion of the bylaws is attached as

                                                                  20 Exhibit "2."

                                                                  21           The proposed new board members are: (1) Tracy Reiner, (2) Velma Montoya,

                                                                  22 (3) Suz Landay, and (4) Ninon Zenovich Aprea. A summary of the prospective board

                                                                  23 members' qualifications is attached to this Motion as Exhibit "3." The Trustee is informed

                                                                  24 that the prospective new members are qualified to act on behalf of the Club.

                                                                  25           D.    Changes to the Board Require Court Approval
                                                                  26           The Confirmation Order requires that this Court approve any changes to the Board

                                                                  27 and the appointment of new directors. The Confirmation Order provides that "any

                                                                  28 amendment(s) to the Bylaws and any action to remove or appoint any additional member


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                                                                   1 of the Board of Directors shall require a notice, motion and order of the Court." See

                                                                   2 Exhibit "1" at p. 5, par. 13. Accordingly, the Trustee seeks this Court's approval of the

                                                                   3 installation of the new board members identified in this Motion.

                                                                   4

                                                                   5 III.      CONCLUSION
                                                                   6           In light of the foregoing, the Plan Trustee requests that this Court enter an order:

                                                                   7           1.     Granting this Motion;

                                                                   8           2.     Approving the appointment of (a) Tracy Reiner, (b) Velma Montoya, (c) Suz

                                                                   9 Landay, and (d) Ninon Zenovich Aprea to the Club's Board of Directors; and

                                                                  10           3.     For such other and further relief as this Court deems just and proper.

                                                                  11
SMILEY WANG‐EKVALL, LLP

                          Tel 714 445‐1000 • Fax 714 445‐1002




                                                                  12                                           Respectfully submitted,
                             3200 Park Center Drive, Suite 250
                               Costa Mesa, California 92626




                                                                  13 DATED: November 10, 2015                  SMILEY WANG-EKVALL, LLP
                                                                  14

                                                                  15
                                                                                                               By:          /s/ Lei Lei Wang Ekvall
                                                                  16                                                 LEI LEI WANG EKVALL
                                                                                                                     Attorneys for Heide Kurtz, Plan Trustee
                                                                  17

                                                                  18

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                                                                   1
                                                                                                   DECLARATION OF SUZ LANDAY
                                                                   2

                                                                   3
                                                                               I, Suz Landay, declare as follows:
                                                                   4
                                                                               1.    I am one of the prospective board members seeking appointment to the
                                                                   5
                                                                       Club's board of directors. I know each of the following facts to be true of my own
                                                                   6
                                                                       personal knowledge, except as otherwise stated and, if called as a witness, I could and
                                                                   7
                                                                       would competently testify with respect thereto. I make this declaration in support of
                                                                   8
                                                                       Motion For Order Authorizing A Change In The Composition Of The Board Of Directors
                                                                   9
                                                                       ("Motion"). Unless otherwise defined in this declaration, all terms defined in the Motion
                                                                  10
                                                                       are incorporated herein by this reference.
                                                                  11
                                                                               2.    In contemplation of my appointment, I have reviewed the Club's bylaws, the
SMILEY WANG‐EKVALL, LLP

                          Tel 714 445‐1000 • Fax 714 445‐1002




                                                                  12
                             3200 Park Center Drive, Suite 250
                               Costa Mesa, California 92626




                                                                       Plan, and the Confirmation Order. I have also reviewed the Trustee's latest status report
                                                                  13
                                                                       and am familiar with the contents of each document. I am prepared to serve as a
                                                                  14
                                                                       member of the board of directors in compliance with the Plan, Confirmation Order and
                                                                  15
                                                                       bylaws. My background is set forth in the attached Exhibit "3."
                                                                  16
                                                                               I declare under penalty of perjury under the laws of the United States of America
                                                                  17
                                                                       that the foregoing is true and correct.
                                                                  18
                                                                               Executed on this _____ day of October, 2015, at __________________________,
                                                                  19
                                                                       California.
                                                                  20

                                                                  21

                                                                  22                                                 SUZ LANDAY
                                                                  23

                                                                  24

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                                                                   1                          DECLARATION OF LEI LEI WANG EKVALL
                                                                   2

                                                                   3           I, Lei Lei Wang Ekvall, declare as follows:

                                                                   4           1.     I am a partner with Smiley Wang-Ekvall, LLP, attorneys of record for Heide

                                                                   5 Kurtz, Plan Trustee. I am licensed to practice before this Court and the courts of the

                                                                   6 State of California. I know each of the following facts to be true of my own personal

                                                                   7 knowledge, except as otherwise stated and, if called as a witness, I could and would

                                                                   8 competently testify with respect thereto. I make this declaration in support of Motion for

                                                                   9 Order Authorizing a Change in the Composition of the Board of Directors ("Motion").

                                                                  10 Unless otherwise defined in this declaration, all terms defined in the Motion are

                                                                  11 incorporated herein by this reference.
SMILEY WANG‐EKVALL, LLP

                          Tel 714 445‐1000 • Fax 714 445‐1002




                                                                  12           2.     A true and correct copy of the Order Confirming Chapter 11 Trustee's
                             3200 Park Center Drive, Suite 250
                               Costa Mesa, California 92626




                                                                  13 Chapter 11 Plan of Reorganization (Dated April 8, 2014) [As Amended by Docket

                                                                  14 No. 442 Filed on July 2, 2014] as Modified by This Court Order [Docket No. 463] is

                                                                  15 attached as Exhibit "1."

                                                                  16           3.     A true and correct copy of the relevant portion of the Club's bylaws is

                                                                  17 attached as Exhibit "2."

                                                                  18           I declare under penalty of perjury under the laws of the United States of America

                                                                  19 that the foregoing is true and correct.

                                                                  20           Executed on this 10th day of November, 2015, at Costa Mesa, California.

                                                                  21

                                                                  22                                                  /s/ Lei Lei Wang Ekvall
                                                                                                                      LEI LEI WANG EKVALL
                                                                  23

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  8
                              UNITED STATES BANKRUPTCY COURT
  9
                                CENTRAL DISTRICT OF CALIFORNIA
 10
                                       LOS ANGELES DIVISION
 11
 12
 13   In re:                                         Case No.: 2:12-bk-50767-BR
 14   The Woman's Club of Hollywood,                 CHAPTER 11
 15   California,
                                                     ORDER CONFIRMING CHAPTER 11
                                                     TRUSTEE’S CHAPTER 11 PLAN OF
 16
                                                     REORGANIZATION (DATED APRIL 8, 2014)
 17                                                  [AS AMENDED BY DOCKET NO. 442 FILED
                                                     ON JULY 2, 2014], AS MODIFIED BY THIS
 18                                                  COURT ORDER
                                       Debtor(s).
 19
                                                     Date:      June 27, 2014
 20                                                  Time:      10:00 a.m.
                                                     Courtroom: 1668
 21                                                             255 East Temple Street
                                                                Los Angeles, CA 90012
 22
 23
 24            This matter is before the Court on the chapter 11 trustee’s Chapter 11 Plan of

 25   Reorganization (Dated April 8, 2014) (“chapter 11 plan”).

 26            The Court held a hearing on confirmation of the chapter 11 plan on June 27,

 27   2014 at 10:00 a.m. Lei Lei Wang Ekvall, Esq. and Robert S. Marticello, Esq. of Smiley,

 28   Wang Ekvall & Strok, LLP appeared on behalf of the chapter 11 trustee, Heide Kurtz.




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  1   Alda Shelton, Esq. appeared on behalf of the debtor. Ron Maroko, Esq. appeared on
  2   behalf of the Office of the United States Trustee. The chapter 11 trustee was also
  3   present.
  4         The Court considered the following:
  5         1.     The chapter 11 plan;
  6         2.     The objection to the chapter 11 plan filed by Alda Shelton, Esq. on behalf
  7   of the debtor on May 28, 2014 and the accompanying declaration of Ms. Shelton;
  8         3.     The objection filed by “The Association of Members of the Woman’s Club
  9   of Hollywood, Ca, An Unincorporated Association [address omitted] In Pro Per” (the
 10   “Association”) on May 30, 2014 by the following members of the Association: Missy
 11   Kelly, Jennifer Morgan, Teri Dartez, Denise Cooke, Sherita Herring, Carmen Hillebrew,
 12   Alda Shelton, Fran Reichenback, Jackie Goldberg, Estherleon Schwartz, Elizabeth
 13   Homier, Terri Tilton-Stewart, Jon Sherman, Nina Van Tassell, Deanna-Marie Smith,
 14   Moni Wilmes, Michael Wallace, Jeri Pittman, Jean Clyde Mason, Kathy B. Hampton,
 15   Ann Monahan, and Eugenia Dallas;
 16         4.     The declaration accompanying the objection filed by the Association,
 17   signed by each of the individuals listed in paragraph 3 above;
 18         5.     The chapter 11 trustee’s memorandum of points and authorities in support
 19   of the chapter 11 plan filed on June 18, 2014 together with the accompanying
 20   declarations of the chapter 11 trustee, Lei Lei Wang Ekvall, Esq., Janet Hogan, John
 21   Gonzalez, Donald T. Fife, Claudia Deutsch, Rob Waller, Patrick Amos, Margaret
 22   Lorenz, and Kent E. Seton;
 23         6.     The chapter 11 trustee’s evidentiary objections filed on June 18, 2014 to
 24   the declarations of Alda Shelton, Esq., Jennifer Morgan, and the various other members
 25   of the Association;
 26         7.     The objections by the Association filed on June 24, 2014 to the trustee’s
 27   objections to the Association’s objections to confirmation of the chapter 11 plan; and
 28         8.     The chapter 11 trustee’s omnibus reply to the various objections to plan




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  1   confirmation filed on June 18, 2014.
  2          At the hearing on June 27, 2014, the Court first ruled on all of the evidentiary
  3   objections, as noted on the record. The Court then ruled that the Association, as a non-
  4   individual, lacked standing to appear in pro per and struck the objection filed on behalf
  5   of the Association by Missy Kelly and Jennifer Morgan, among others.
  6          The Court further ruled that neither Missy Kelly nor Jennifer Morgan were entitled
  7   to appear on the debtor’s behalf. The Court did, however, allow Alda Shelton, Esq. to
  8   appear on the debtor’s behalf. The Court then heard argument of counsel and
  9   representations by Ron Maroko, Esq. and by the chapter 11 trustee.
 10          At the conclusion of the hearing, the Court ordered the chapter 11 trustee to re-
 11   file the chapter 11 plan with its exhibits edited to remove all “red-lining” from the
 12   attached By-Laws. 1
 13          The Court, having found that good and sufficient cause appeared for confirming
 14   the chapter 11 plan, hereby ORDERS that the chapter 11 plan [docket no. 442] is
 15   CONFIRMED, subject to the following modifications made by the Court:
 16          1.      The Effective Date of the plan shall be the first business day that is fifteen
 17   (15) days after the entry of the Confirmation Order;
 18          2.      Upon the Effective Date, Heide Kurtz, the chapter 11 trustee of the
 19   debtor’s bankruptcy estate, shall be appointed as the “plan trustee” and, unless she
 20   resigns or is removed by the Court (as set forth below), her term shall expire upon the
 21   completion of the payments required by the plan;
 22          3.      The Court retains the sole and absolute discretion to remove the trustee at
 23   any time during the term of the plan if the Court finds that she is not fulfilling her duties;
 24          4.      Any action to employ, retain, engage, and/or replace any professionals by
 25   the trustee as well as to make any payment of professional fees, costs and expenses,
 26   including any fees or costs incurred or to be paid to the trustee, shall require a notice,
 27   motion, and order of the Court;
 28
      1
             The trustee re-filed the chapter 11 plan, as instructed, on July 2, 2014 [see Docket no. 442].




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  1          5.       Claimants for non-professional administrative claims must file a claim and
  2   an application with the Court and obtain Court approval prior to any payment on such
  3   claims;
  4          6.       Claimants for professional administrative claims, including the trustee and
  5   the trustee’s professionals including, without limitation, the trustee’s bankruptcy counsel,
  6   special counsel and accountants, must file a claim and an application with the Court and
  7   obtain Court approval prior to any payment on such claims;
  8          7.       Following Court approval of professional administrative claims, the trustee
  9   may record a lien for payment of such claims on the real property in a position junior to
 10   that of the lien of Scapa & Associates (“Scapa”). The promissory note and deed of trust
 11   shall, however, be in a form acceptable to and approved by the Court, and payments on
 12   the professional administrative claims must be approved by the Court prior to payment.
 13   The trustee shall not have the sole and absolute discretion to make such payments, as
 14   proposed in the plan;
 15          8.       The trustee shall file fee statements of her professional fees, specifying
 16   the hourly rate of such fees, and shall file such statements with the Office of the United
 17   States Trustee, on notice to creditors and with an opportunity for such creditors to object
 18   to the fee statements. The Court shall conduct a hearing on any such opposition(s).
 19   Payment of the trustee’s fees shall remain subject to Court approval;
 20          9.       Any actions not in the ordinary course of the debtor’s business shall
 21   require a notice, motion, and order of the Court before proceeding. The trustee shall
 22   retain her duties and rights as prior to confirmation of the plan;
 23          10.      Any action to compromise claims shall require a notice, motion and order
 24   of the Court;
 25          11.      Any objection to assumption and/or rejection of any executory contracts
 26   and/or unexpired leases, and any dispute(s) about cure amounts, shall be filed with the
 27   trustee’s counsel and the Office of the United States Trustee;
 28          12.      After the Effective Date, only the debtor’s Board of Directors shall




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  1   determine subsequent memberships in the debtor. If a judgment in adversary
  2   proceeding no. 2:13-ap-01854-BR entitled Heidi Kurtz, Chapter 11 Trustee, vs. Jennifer
  3   Morgan, et al. has been entered against a person who applies for membership, that
  4   person may be excluded by the Board of Directors if the judgment has not been paid;
  5          13.       For the two year period following the Effective Date, any amendment(s) to
  6   the Bylaws and any action to remove or appoint any additional member of the Board of
  7   Directors shall require a notice, motion and order of the Court;
  8          14.       After the expiration of the two year period following the Effective Date, the
  9   trustee shall be completely removed from any oversight, management, or any other
 10   aspect of control of the day to day operations of the debtor, and the trustee’s only role
 11   shall be to act as the Disbursing Agent;
 12          15.       For the six year period following the Effective Date, any action(s) under
 13   any and all circumstances to sell, refinance, encumber or otherwise affect or dispose of
 14   the assets of the debtor, including the real property, shall require a notice, motion, and
 15   order of the Court before the action may be taken. The trustee shall not have the sole
 16   and absolute discretion to take such action(s), as proposed in the plan. This provision
 17   encompasses and supersedes the provision in the agreement with Scapa that gives the
 18   trustee the sole and absolute discretion to accept or reject Scapa’s offer to purchase the
 19   real property;
 20          16.       Any pre-payment on the Scapa loan shall require a notice, motion and
 21   order of the Court prior to such payment;
 22          17.       If any attempt is made to foreclose on the real property, the person or
 23   entity attempting to do so shall file a Notice of Foreclosure with the Court and serve a
 24   copy of such Notice on the trustee, the Office of the United States Trustee and all
 25   creditors;
 26          18.       For the six year period following the Effective Date, any action to dissolve
 27   the debtor shall require a notice, motion and order of the Court;
 28          19.       The Court shall retain its inherent powers to impose sanctions for frivolous




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  1   objections by any person(s) to any proposed actions described herein;
  2            20.     Beginning on the 120th day following the Effective Date, the trustee shall
  3   personally prepare and file status reports with the Court and the Office of the United
  4   States Trustee every 120 days for the two year period following the Effective Date. The
  5   reports shall include information about all of the debtor’s activities including, without
  6   limitation, information regarding any progress made toward changing the debtor’s tax
  7   status to a § 501(c)(3) entity. Thereafter, the debtor’s Board of Directors shall prepare
  8   and file such reports with the Court and the Office of the United States Trustee every
  9   120 days;
 10            21.     The debtor’s discharge shall not be entered until after completion of the
 11   plan;
 12            22.     The Court shall no longer retain jurisdiction over the debtor after the
 13   expiration of the six year period following the Effective Date; and
 14            23.     To the extent there is any conflict between the terms of the chapter 11
 15   plan and this Confirmation Order, the terms of the Confirmation Order shall control.
 16            IT IS SO ORDERED.
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 25           Date: August 5, 2014

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                       ARTICLE 6: BOARD OF DIRECTORS

   6.1        Transitional Board

   The Club shall have a transitional board of directors (the “Transitional Board of Directors”) that
   shall be composed of five (5) members, including the four officers (collectively, “Officers” and
   individually, an “Officer”) of the Club described in Section 7.1. The term of the Transitional
   Board of Directors is two (2) years. Thereafter, any Transitional Board of Directors member
   may seek to be elected as an Officer or a member of the Board of Directors in accordance with
   the Bylaws. The Transitional Board of Directors shall have all the rights, powers, duties, and
   obligations of the Board of Directors as set forth in the Bylaws.

   6.2        Board of Directors

   Upon expiration of the Transitional Board of Directors’ term, the Club shall have a Board of
   Directors that shall be composed of at least five (5) members and no more than fifteen (15)
   members, including the Officers of the Club. Each Director shall serve a term of three (3) year.
   The Board of Directors shall organize the election for a vote of the Club’s members, such that
   the members of the Board of Directors (individually, a “Director” and collectively, the
   “Directors”) will be in three (3) classes whose terms of office expire in triennial rotation. All
   Directors shall have full voting rights.

   6.3        Powers and Duties

   The Board of Directors shall generally management the affairs of the Club subject to, and in
   accordance with the Club’s articles of incorporation (“Articles of Incorporation”), its Bylaws, the
   Club’s duly promulgated policies and procedures and applicable state and federal laws. The
   Board of Directors shall have the power to employ such employees as it may in its discretion
   deem proper, and perform such other duties as prescribed by the Club’s Bylaws or resolutions.
   The Board of Directors may delegate to the executive committee (“Executive Committee”), the
   President, or the employees of Club such duties as deemed necessary or advisable for the normal
   functioning of the Club. In furtherance of the foregoing, the Board of Directors shall articulate
   the Club’s mission and purpose; identify and monitor the effectiveness of the Club’s goals; select
   Officers; prepare job descriptions; establish or terminate committees; provide for adequate
   financial resources; ensure financial oversight and controls; build a competent Board of
   Directors; safeguard legal and ethical integrity; and enhance the Club’s public standing.

   6.4        Meetings

   The Board of Directors shall meet no less than quarterly as determined by the Board of
   Directors. The Board of Directors, at its discretion, may meet in closed executive session
   whenever it so decides. Notice of regular meetings of the Board of Directors shall be sent to
   each Director not less than two (2) weeks prior to such meeting by mail, fax, e-mail, phone or
   other means. The agenda, identifying the business to be transacted at the meeting, shall be sent as
   soon as practicable but not less than three (3) days in advance of the meeting. Special meetings
   of the Board of Directors may be called by the President, the vice president (the “Vice
   President”), the Secretary, or by any two (2) Directors. At least two (2) days notice by e-mail,
   overnight mail or phone shall be given. If the U.S. Postal Service is used, notification shall be


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   sent at least five (5) days before the meeting. The advance notification can be waived in case of
   emergency. Meetings of the Board of Directors shall be presided over by the President. If the
   President is absent, the Vice President shall act as chair. In the absence of both these persons, a
   chairperson shall be chosen by a majority of the Directors present at the meeting. Meetings may
   be in person or by telephone conference or a combination thereof. The Board of Directors shall
   keep a written record of its proceedings.

   6.5        Place of Meeting

   Notwithstanding anything to the contrary in these Bylaws, any meeting whether regular or
   special, or adjourned of the Board of Directors of this Club may be held at any place within or
   without California which has been designated by the Board of Directors.

   6.6        Quorum

   A quorum of the Board of Directors shall consist of a majority of Directors entitled to vote. If a
   meeting begins with a quorum and loses that quorum because a member leaves, the remaining
   Directors may continue to conduct business provided that any action taken is later approved by a
   majority of the Board of Directors.

   6.7        Actions Without Meeting

   An action may be taken without an in-person or telephone meeting of the Board of Directors so
   long as the Directors shall individually or collectively consent to the action proposed with
   sufficient votes as prescribed by the Bylaws. Such action taken, in writing, by e-mail or other
   means, shall have the same force and effect as a vote of the Directors at a meeting and shall be
   ratified at the next meeting and recorded by the Secretary as part of the official record.

   6.8        Reports

   The Board of Directors shall cause an annual audit of all Club books and internal control systems
   conducted by a qualified independent auditor to be submitted to the Board of Directors no later
   than one hundred fifty (150) days following the close of the Club’s fiscal year.

   6.9        Compensation

   Members of the Board of Directors shall serve without compensation, except for reasonable
   advancement or reimbursement of expenses incurred in the performance of their duties.

   6.10       Attendance

   Any member of the Board of Director absent from three (3) Board of Directors meetings without
   sufficient excuse within one (1) year may be deemed to have submitted his or her resignation to
   the Executive Committee. The Executive Committee shall determine whether or not such
   resignation is accepted.




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   6.11 Vacancies

   Any vacancy among the Board of Directors may be filled by the Board of Directors and such
   appointed director shall hold office for the unexpired term of the vacated directorship.

   6.12       Term Limits

   Directors may serve no more than two consecutive terms of three (3) years each. After a one (1)
   year period of absence, an individual may serve as Director for a third term. Subsequent terms
   thereafter, however, will require a two (2) year period of absence between such terms.


                         ARTICLE 7: OFFICERS AND EXECUTIVE DIRECTORS

   7.1        Officers

   The Club shall have the following Officers: President, Vice-President, Secretary, and treasurer
   (“Treasurer”).

   7.2        President

   The President shall be the Chief Executive Officer with the responsibility to supervise and
   control the affairs of the Club. By virtue of the office, the President chairs and presides over all
   meetings of the Board of Directors and the Executive Committee, and subject to the Club’s
   Articles of Incorporation, Bylaws, and applicable state and federal law, has the authority to call
   meetings, sign checks, open financial accounts and enter into contracts. The President shall be
   the official spokesperson for the Club and may delegate this authority in specific instances. The
   President shall also have authority appoint committee chairs and committee members and shall
   be an ex-officio member of all committees, with the right to vote at all committee meetings. The
   President shall also have authority to hire employees, subject to approval of the Board of
   Directors.

   7.3        Vice President

   The Vice President shall be an active aide to the President and shall be thoroughly acquainted
   with the affairs and personnel of the Club. Except as otherwise provided for in the Bylaws, the
   Vice President shall be a member of all committees, with the right to vote at all committee
   meetings. In the event of the President’s absence or incapacity (defined as the inability to
   perform the functions of the job) to exercise the office, the Vice President shall perform the
   duties of the President and become the acting President with all the rights, privileges and powers
   as if she/he had been duly elected President. The Vice President shall serve as the acting
   President until the earlier of: (1) the expiration of the balance of the term of the Presidency that
   has been vacated by the President; or (2) the appointment of a new President.

   7.4        Secretary

   The Secretary shall perform all of the duties that usually pertain to the office. The Secretary
   shall keep full and correct minutes of the meetings of the Club, the Board of Directors, and the



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                             WOMAN’S CLUB of HOLLYWOOD
                                      July 2015

                           PROPOSED NEW BOARD MEMBERS:

        1. Tracy Reiner

        Tracy Reiner was born in New Mexico, where her father’s family worked at the
        Atomic Energy Commission, which led to her lifelong interest in renewable energy
        and quantum physics. At age 8 Tracy and her mom moved to Los Angeles to be with
        her new step-father, Rob Reiner (All In The Family actor, director-producer of A Few
        Good men, When Harry Met Sally etc). Her mother, is Penny Marshall (Laverne &
        Shirley actor, director of Big, producer of A League of Their Own). Tracy spent the
        next four decades in Hollywood as an actor, writer, producer and media consultant.
        She is CEO of Manifesto Films. Married to Coast Guard Veteran Matthew Conlan,
        they produced a documentary on the American Legion Post 43. Tracy is involved
        with Women In Film and many other prestigious local organizations.

        2. Velma Montoya

        Velma Montoya is an educator and economist specializing in research on U.S. higher
        education policy and policies to reduce governmental regulations on small businesses.
        She is a Regent Emerita of the University of California, and she served in the White
        House Office of Domestic Policy for President Ronald Reagan. She is a former
        Commissioner of the U.S. Occupational Safety & Health Review Commission (twice
        confirmed by the U.S. Senate). She currently serves on the Board of the Hispanic
        Access Foundation, based in Washington DC. She has taught finance and economics
        at California State University, Pomona and at Pepperdine University.

        3. Suz Landay

        A former apparel designer/merchandiser for 40 years, Suz worked for major
        corporations developing private label merchandise for JC Penney, Limited Too,
        Macy’s and Kohl’s. She currently hosts and/or caters large fundraising events pro
        bono for charitable organizations such as The Jeffrey Foundation, The Hollywood
        Master Chorale and The Windsor Square - Hancock Park Historical Society. She has
        also served on the board of The Ebell of Los Angeles as finance chair.

        4. Ninon Zenovich Aprea

        Ninon’s multi-faceted career reflects a life steeped in politics, labor activism, the arts
        and the recovery movement. The daughter of the late, legendary California legislator
        George N. Zenovich, who helped write the landmark California Agricultural Labor
        Relations Act that first recognized the rights of farmworkers to bargain collectively,
        Ninon worked on the 1980 presidential campaign of Governor Jerry Brown, who
        remains a close family friend.

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        After majoring in International Relations at USC, she launched an acting career while
        at the same time working to expand the rights of her fellow artists’ as an elected
        member of the Screen Actors Guild board of directors. She chaired SAG’s national
        legislative affairs committee and successfully served on the negotiations team
        pushing for improvements to commercial contracts.

        More recently, she worked for the Writers Guild of America West helping organize
        the writers of reality TV programs in an attempt to bring their productions under
        WGA jurisdiction.

        Ninon has long been deeply committed to the recovery community, which she has
        served in every conceivable capacity, from case manager to executive director,
        engaged in fundraising, marketing, public relations, business development, facility
        management, building educational outreach programs and forming strategic
        partnerships with the mental health community.

        She is also involved in the environmental field and was the vice president of
        corporate communications for Railscout, a green energy company that has developed
        a lithium electric, driverless vehicle that helps prevent train derailments by remotely
        and autonomously inspecting the rails using a variety of cameras and sensors to
        detect flaws.




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                              3200 Park Center Drive, Suite 250, Costa Mesa, CA 92626

A true and correct copy of the foregoing document entitled (specify): MOTION FOR ORDER AUTHORIZING A CHANGE
ON THE COMPOSITION OF THE BOARD OF DIRECTORS; DECLARATIONS IN SUPPORT WITH PROOF OF
SERVICE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 10, 2015, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) November 10, 2015, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

The Honorable Barry Russell
United States Bankruptcy Court
255 E. Temple Street, Suite 1660
Los Angeles, CA 90012
                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 10, 2015              Carol Sheets                                                    /s/ Carol Sheets
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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